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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION


   UNITED STATES OF AMERICA

                                                   Criminal Action No.
          v.
                                                   1:16-cr-00099-AT-LTW-1
   B ENNET K IGHT
            D EFENDANTS .

                                NOTICE OF WITHDRAWAL

   Assistant United States Attorney Jolee Porter herein files notice of her withdrawal

in the above-styled case, and respectfully requests that she be removed as counsel of

record for the United States.

                                            Respectfully submitted,

                                            K URT R. E RSKINE
                                               Acting United States Attorney



                                        /s/Jolee Porter
                                               Assistant United States Attorney
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                             Certificate of Service

The United States Attorney’s Office served this document today by filing it using
the Court’s CM / ECF system, which automatically notifies the parties and counsel
of record.




October 20, 2021

                                         /s/ J OLEE P ORTER
                                         J OLEE P ORTER
                                         Assistant United States Attorney
